              Case 23-00623               Doc 1           Filed 08/07/23 Entered 08/07/23 07:50:07                             Desc Main
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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

        Northern
 ____________________                   Iowa
                      District of _________________
                                        (State)
                                                             11
 Case number (If known): _________________________ Chapter _____
                                                                                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                             Mercy Hospital, Iowa City, Iowa
                                              ______________________________________________________________________________________________________



                                                   Mercy Iowa City; Mercy Home Care; Mercy Iowa City Cancer Care;
 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                      Mercy Iowa City Heart Care; Mercy Iowa City Home Care
                                              ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                4 ___
                                              ___ 2 – ___
                                                       0 ___
                                                          6 ___
                                                             8 ___
                                                                0 ___
                                                                   3 ___
                                                                      9 ___
                                                                         1
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business

                                                  500 E. Market Street
                                              ______________________________________________               _______________________________________________
                                              Number     Street                                            Number     Street

                                              ______________________________________________               _______________________________________________
                                                                                                           P.O. Box

                                               Iowa City                   IA      52245
                                              ______________________________________________               _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                                  Johnson County
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                    https://www.mercyiowacity.org
                                              ____________________________________________________________________________________________________




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Debtor         Mercy Hospital, Iowa City, Iowa
              _______________________________________________________                        Case number (if known)_____________________________________
              Name



                                           x Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           
 6.   Type of debtor
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________

                                           A. Check one:
 7.   Describe debtor’s business
                                           x Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above

                                           B. Check all that apply:
                                           x Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               6 ___
                                              ___  2 ___
                                                       2 ___
                                                          1

 8.   Under which chapter of the           Check one:
      Bankruptcy Code is the
      debtor filing?                        Chapter 7
                                            Chapter 9
                                           x Chapter 11. Check all that apply:
                                           
      A debtor who is a “small business
      debtor” must check the first sub-                   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                          affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                         recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                          income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                            11 U.S.C. § 1116(1)(B).
      check the second sub-box.                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                               less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                               Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                               statement of operations, cash-flow statement, and federal income tax return, or if
                                                               any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                               § 1116(1)(B).

                                                            A plan is being filed with this petition.
                                                            Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                               for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                            Chapter 12




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Debtor
                Mercy Hospital, Iowa City, Iowa
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases        x No
                                         
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases             No
      pending or being filed by a                                                                                  Affiliate
                                         x Yes. Debtor _____________________________________________
                                                        See Rider 1                                 Relationship _________________________
      business partner or an
      affiliate of the debtor?                               Northern District of Iowa
                                                   District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.
                                         x A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                         

 12. Does the debtor own or have         x No
                                         
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




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Debtor         Mercy Hospital, Iowa City, Iowa
              _______________________________________________________                           Case number (if known)_____________________________________
              Name




 13. Debtor’s estimation of              Check one:
     available funds                     x Funds will be available for distribution to unsecured creditors.
                                         
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                              x 1,000-5,000
                                                                                                                         25,001-50,000
 14. Estimated number of
                                          50-99                              5,001-10,000                               50,001-100,000
     creditors *
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets *
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million               x $100,000,001-$500 million
                                                                                                                         More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities *
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million               x $100,000,001-$500 million
                                                                                                                         More than $50 billion


             Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                           08/07/2023
                                             Executed on _________________
                                                         MM / DD / YYYY


                                            _____________________________________________                 Mark E. Toney
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                    Chief Restructuring Officer
                                             Title _________________________________________




         * Please note that this information is being provided on a consolidated basis.




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                                                                                                                            Desc Main       i
Debtor                                                                                Case number (if known), _ _ _ _ _ _ _ _ _ _ _ __
             Name



                                     X          / ~------
 1s. Signature of attorney
                                                                                                 Date      o~/07/J~3
                                                                                                           MM     /DD /YYYY
                                         signat~        attomeyfordebtor


                                           Roy Leaf
                                         Printed name
                                            Nyemaster Goode, P.C.
                                         Firm name
                                            625 First Street SE, Suite 400
                                         Number          Street
                                            Cedar Rapids                                                  IA             52401
                                         City                                                           State           ZIP Code

                                           (319) 286-7002                                                 rleaf@nyemaster.com
                                         Contact phone                                                  Email address


                                           AT0014486                                                      IA
                                         Bar number                                                     State




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                                             Rider 1

                     Pending Bankruptcy Cases Filed by the Debtor and
                      Certain Affiliates and Subsidiaries of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a
petition in the United States Bankruptcy Court for the Northern District of Iowa for relief under
chapter 11 of title 11 of the United States Code. The Debtors have moved for joint administration
of these cases for procedural purposes only under the case number assigned to the chapter 11 case
of Mercy Hospital, Iowa City, Iowa.

                 Debtor Name                                       EIN Number
                                          U.S. Debtors
         Mercy Iowa City ACO, LLC                                   XX-XXXXXXX
        Mercy Hospital, Iowa City, Iowa                             XX-XXXXXXX
        Mercy Services Iowa City, Inc.                              XX-XXXXXXX
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                   OMNIBUS ACTION BY WRITTEN CONSENT
          IN LIEU OF A MEETING OF THE ENTITIES LISTED ON ANNEX A

                                          August 6, 2023

       The undersigned, being all of the members of the boards of directors (in each case, a
“Board” and collectively, the “Boards”) and the corporate members (in each case, a “Controlling
Entity” and collectively, the “Controlling Entities”) of each of the entities listed on Annex A
(each a “Company,” and collectively, the “Companies”), hereby consent, in accordance with the
organizational documents of each Company and applicable state laws, to the following actions
and adopt the following resolutions (these “Resolutions”) with respect to each Company in lieu
of a meeting effective as of the date hereof:

                                        Chapter 11 Filing

        WHEREAS, each Board and Controlling Entity, along with their legal and financial
advisors, has considered the liquidity, financial, and operational condition, including capital
resources, and sources and uses of cash, of each Company and its subsidiaries and affiliates and
its current lending arrangements in respect to meeting such Company’s short-term liquidity
needs;

         WHEREAS, each Board and Controlling Entity has reviewed the historical performance
and results of each Company, the market in which each Company operates, its current, short-
term, and long-term future liquidity needs, its business prospects, and its current and long-term
liabilities;

       WHEREAS, each Board and Controlling Entity has considered and evaluated other
lending arrangements and sources of liquidity in meeting each Company’s short-term liquidity
needs;

        WHEREAS, each Board and Controlling Entity has reviewed the materials presented by
each Company’s financial, operative, legal, and other advisors and has engaged in numerous and
extensive discussions (including, without limitation, with its management and such advisors)
regarding, and have had the opportunity to fully consider, such Company’s financial condition,
including its capital resources and uses of cash, liabilities, and liquidity position, the strategic
alternatives available to it, the impact of the foregoing on such Company’s business and
operations, and the advisability of entering into restructuring arrangements;

        WHEREAS, each Board and Controlling Entity has had the opportunity to consult with
the financial and legal advisors of the Companies and fully consider each of the strategic
alternatives available to the Companies;

        WHEREAS, each Board and Controlling Entity has determined that taking the actions set
forth below are advisable and in the best interests of each Company to preserve and protect its
ordinary course of business and therefore, each Board and Controlling Entity recommends the
adoption of the following resolutions:
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        NOW, THEREFORE, BE IT RESOLVED that in the business judgment of each Board
and Controlling Entity, it is desirable and in the best interests of each Company and its respective
creditors and other parties-in-interest that each Company shall be, and hereby is, authorized to
file, or cause to be filed, a voluntary petition for relief (each, a “Chapter 11 Case” and
collectively, the “Chapter 11 Cases”) under the provisions of chapter 11 of title 11 of the United
States Code (the “Bankruptcy Code”) commencing the Chapter 11 Case in the United States
Bankruptcy Court for the Northern District of Iowa (the “Bankruptcy Court”);

        BE IT FURTHER RESOLVED that Mark Toney on behalf of each Company and each
manager, member, officer, or director of each Company on behalf of such person’s Company
(collectively with Mark Toney, the “Authorized Persons”), in each case, acting singly or jointly,
be, and each of them hereby is, authorized, empowered, and directed to execute and file, or cause
to be filed, with the Bankruptcy Court, for such Authorized Person’s Company, all petitions,
schedules, lists, motions, applications, pleadings, and any other necessary papers or documents,
including any amendments thereto, and to take any and all action and perform any and all further
deeds that they deem necessary or proper to obtain chapter 11 bankruptcy relief, including but
not limited to motions to obtain the use of cash collateral and provide adequate protection
therefor, or in connection with the Chapter 11 Case of such Company, with a view to the
successful prosecution of such Chapter 11 Case, including the negotiation of such additional
agreements, modifications, supplements, reports, documents, instruments, applications, notes, or
certificates that may be required and/or the payment of all fees, consent payments, taxes, and
other expenses as any such Authorized Person, in their sole discretion, may approve or deem
necessary, appropriate, or desirable in order to carry out the intent and accomplish the purposes
of the resolutions herein and the transactions contemplated thereby;

        BE IT FURTHER RESOLVED that all acts and deeds previously performed by any of
the officers of the Companies prior to the adoption of the foregoing recitals and resolutions that
are within the authority conferred by the foregoing recitals and resolutions are hereby ratified,
confirmed, and approved in all respects as the authorized acts and deeds of the Companies.

                                   Retention of Professionals

       WHEREAS, each Board and Controlling Entity has considered presentations by the
financial and legal advisors of each Company regarding the retention of such financial and legal
advisors by each Company;

        NOW, THEREFORE, BE IT RESOLVED that each of the Authorized Persons of each
Company be, and each of them hereby is, authorized, empowered and directed to employ the law
firms of (i) McDermott Will & Emery LLP (“McDermott”) and (ii) Nyemaster Goode, P.C.
(“Nyemaster”) as general bankruptcy co-counsel to represent and assist each Company in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance
each Company’s rights and obligations, including filing any motions, objections, replies,
applications, or pleadings; and in connection therewith, each of the Authorized Persons, with
power of delegation, is hereby authorized, empowered and directed to execute appropriate
retention agreements, pay appropriate retainers and fees, and to cause to be filed an appropriate
application for authority to retain the services of McDermott and Nyemaster;


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        BE IT FURTHER RESOLVED, that each of the Authorized Persons of each Company
be, and hereby is, authorized, empowered and directed to employ ToneyKorf Partners, LLC
(“ToneyKorf”) to provide interim management services to the Companies, to represent and assist
each Company in carrying out its duties under the Bankruptcy Code, and to take any and all
actions to advance each of each Company’s rights and obligations; and in connection therewith,
each of the Authorized Persons, with power of delegation, is hereby authorized, empowered, and
directed to execute appropriate retention agreements, pay appropriate retainers and fees, and to
cause to be filed an appropriate application for authority to retain the services of ToneyKorf;

        BE IT FURTHER RESOLVED, that each of the Authorized Persons of each Company
be, and hereby is, authorized, empowered and directed to employ the firm of H2C Securities Inc.
(“H2C”) as investment banker to represent and assist each Company in carrying out its duties
under the Bankruptcy Code, and to take any and all actions to advance each Company’s rights
and obligations; and in connection therewith, each of the Authorized Persons, with power of
delegation, is hereby authorized, empowered, and directed to execute appropriate retention
agreements, pay appropriate retainers and fees, and to cause to be filed an appropriate application
for authority to retain the services of H2C;

       BE IT FURTHER RESOLVED, that each of the Authorized Persons of each Company
be, and hereby is, authorized, empowered and directed to employ the firm of Epiq Corporate
Restructuring, LLC (“Epiq”) as notice and claims agent to represent and assist each Company in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance
each Company’s rights and obligations; and in connection therewith, each of the Authorized
Persons, with power of delegation, is hereby authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers and fees, and to cause to be filed
appropriate applications for authority to retain the services of Epiq;

        BE IT FURTHER RESOLVED, that each of the Authorized Persons of each Company
be, and hereby is, authorized, empowered, and directed to employ any other professionals to
assist each Company in carrying out its duties under the Bankruptcy Code; and in connection
therewith, each of the Authorized Persons, with power of delegation, is hereby authorized,
empowered and directed to execute appropriate retention agreements, pay appropriate retainers
and fees, and to cause to be filed an appropriate application for authority to retain the services of
any other professionals as necessary, proper or convenient; and

        BE IT FURTHER RESOLVED, that each of the Authorized Persons of each Company
be, and hereby is, with the power of delegation, authorized, empowered, and directed to execute
and file all petitions, schedules, motions, lists, applications, pleadings, and other papers, and, in
connection therewith, to employ and retain all assistance by legal counsel, accountants, financial
advisors, and other professionals and to take and perform any and all further acts and deeds that
each of the Authorized Persons deem necessary, proper, or desirable in connection with each
Company’s Chapter 11 Case, with a view to the successful prosecution of such case.




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                         Appointment of Chief Restructuring Officer

        WHEREAS, on March 28, 2023, the Board of Mercy Hospital, Iowa City, Iowa,
appointed Mark Toney as the Chief Restructuring Officer (the “CRO”) pursuant to the terms of
that certain engagement letter dated as of March 30, 2023, by and among Mercy Hospital, Iowa
City, Iowa and ToneyKorf (the “Engagement Letter”); and

       WHEREAS, each Board and Controlling Entity has determined that each Company
determines that it is in the best interests of each Company to appoint Mark Toney as the CRO to,
among other things, act on behalf of each Company and assist the Companies in their review,
evaluation, and analysis of one or more ale and/or financing transactions.

        NOW, THEREFORE, BE IT RESOLVED, that Mark Toney, be, and hereby is,
appointed to serve as the CRO of the Companies in accordance with the terms and conditions of
the Engagement Letter and shall exercise all rights and powers and to perform the duties of an
officer of the Companies, including the rights and powers to bind the Companies and to, among
other things, enter into an agreement or agreements to authorize the sale of property of the
Companies.

                          Cash Collateral and Adequate Protection

        WHEREAS, to facilitate each Company’s ongoing operations, each Board and
Controlling Entity has determined that each Company will obtain benefits from the use of cash
collateral, as that term is defined in section 363(a) of the Bankruptcy Code (the “Cash
Collateral”), some of which may be security for certain prepetition secured bondholders
(collectively, the “Bondholders”); and

       WHEREAS, in order to use and obtain the benefits of the Cash Collateral, and in
accordance with section 363 of the Bankruptcy Code, it is contemplated that each Company will
provide certain liens, claims, and other adequate protection to the Bondholders, as documented in
proposed interim and final orders (collectively, the “Cash Collateral Orders”) to be submitted for
approval to the Bankruptcy Court;

        NOW, THEREFORE, BE IT RESOLVED, that each of the Authorized Persons of each
Company be, and hereby is, authorized, empowered, and directed to (i) grant security interests
and liens in any real, personal, or other property belonging to or under the control of each
Company as security for its use of Cash Collateral; and (ii) execute and deliver any and all
security agreements, pledges, mortgages, deeds of trust, and other security instruments to
effectuate the grant of such security interests and liens related to such Company’s use of Cash
Collateral;

        BE IT FURTHER RESOLVED, that each of the Authorized Persons of each Company
be, and hereby is, authorized, empowered, and directed to file, or cause to be filed, any Uniform
Commercial Code (the “UCC”) financing statements, any other equivalent filings, any
intellectual property filings and recordation, and any necessary assignments for security or other



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documents in the name of each Company that may be necessary or appropriate to perfect any lien
or security interest granted under the Cash Collateral Orders;

        BE IT FURTHER RESOLVED, that each of the Authorized Persons of each Company
be, and hereby is, authorized, empowered, and directed to take all such further actions in
connection with the foregoing resolutions that are, in their business judgment, necessary,
desirable, proper, advisable, or reasonable to perform any of each Company’s obligations under
or in connection with the Cash Collateral Orders and the transactions contemplated therein.

                             Other Authorization and Ratification

       BE IT FURTHER RESOLVED that the Authorized Persons of each Company be, and
each of them hereby is, authorized, empowered, and directed, in the name of and on behalf of
such Company, to take all actions with respect to the transactions contemplated by these
Resolutions as such Authorized Person shall deem necessary, appropriate, or desirable in such
Authorized Person’s reasonable business judgement as may be necessary, appropriate, or
desirable to effectuate the purposes of the transactions contemplated in these Resolutions;

        BE IT FURTHER RESOLVED that the Authorized Persons of each Company be, and
each of them hereby is, authorized, empowered, and directed, in the name and on behalf of such
Company, to cause such Company to enter into, execute, deliver, certify, file, and/or record and
perform such agreements, instruments, motions, affidavits, applications for approvals or ruling of
governmental or regulatory authorities, certificates, or other documents, and to take such other
action, as in the judgment of such person shall be or become necessary, proper, and desirable to
prosecute to a successful completion the Chapter 11 Case, including, but not limited to,
implementing the foregoing Resolutions and the transactions contemplated by these Resolutions;

       BE IT FURTHER RESOLVED that the Authorized Persons of each Company be, and
each of them hereby is, authorized, empowered, and directed, in the name and on behalf of such
Company, to amend, supplement, or otherwise modify from time to time the terms of any
documents, certificates, instruments, agreements, or other writings referred to in the foregoing
Resolutions;

        BE IT FURTHER RESOLVED that all acts, actions, and transactions relating to the
matters contemplated by the foregoing Resolutions done in the name and on behalf of each
Company, which acts would have been approved by the foregoing Resolutions except that such
acts were taken before these Resolutions were certified, are hereby in all respects approved and
ratified; and

        BE IT FURTHER RESOLVED that, to the extent each Company serves as the sole
member, managing member, general partner, or other governing body (each a “Controlling
Company”) of any other company (each a “Controlled Company”), each Authorized Person of
such Controlling Company, any one of whom may act without the joinder of any other
Authorized Person of such Controlling Company, be, and each of them hereby is, severally
authorized, empowered, and directed in the name and on behalf of such Controlling Company
(acting for such Controlled Company in the capacity set forth above, as applicable), to take all of


                                                5
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the actions on behalf of such Controlled Company that an Authorized Person of such Controlling
Company is herein authorized to take on behalf of such Controlling Company.


        The undersigned agree that this Omnibus Action by Written Consent in Lieu of a Meeting
of the Boards and Controlling Entities shall be added to the corporate records of each Company
and made a part thereof, and the undersigned further agree that the resolutions set forth
hereinabove shall have the same force and effect as if adopted at a meeting duly noticed and
held, pursuant to each Company’s organizational documents and the applicable laws of the
jurisdiction in which such Company is organized. Facsimile, scanned, or electronic signatures
shall be acceptable as originals. This Omnibus Action by Written Consent in Lieu of a Meeting
of the Boards and Controlling Entities may be signed in two or more counterparts, each of which
shall be deemed an original, and all of which together shall be deemed one instrument.


                                   [Signature pages follow]




                                              6
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        IN WITNESS WHEREOF, the undersigned, being all of the members of the Board of the
Mercy Services, Iowa City, Inc., has executed this Omnibus Action by Written Consent as of the
date first set forth above.
                                            BOARD OF DIRECTORS OF MERCY
                                            SERVICES, IOWA CITY, INC.:




                                              Madeline Windauer



                                          ~bo~Jeferson



                                              Jan Finlayson



                                              Jason Wagner



                                              Renda Greene-Fishman



                                              Mike Pugh



                                              Tom Clancy




                       [Signature Page to Omnibus Action by Written Consent of
                         Board of Directors of Mercy Services, Iowa City, inc.]
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Case 23-00623   Doc 1   Filed 08/07/23 Entered 08/07/23 07:50:07   Desc Main
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                         Document     Page 23 of 31
Case 23-00623       Doc 1    Filed 08/07/23 Entered 08/07/23 07:50:07            Desc Main
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         rN WITNESS WHEREOF, the undersigned, being all of the members of the Board of the
Mercy Services, Iowa City, Inc., has executed this Omnibus Action by Written Consent as of the
date first set forth above.
                                            BOARD OF DIRECTORS OF MERCY
                                            SERVICES, IOWA CITY, INC.:




                                              Madeline Windauer



                                              Jeff Halverson



                                              Jan Finlayson



                                              Jason Wagner



                                             Renda Greene-Fishman



                                              Mike Pugh



                                              Tom Clancy                 '




                       [Signature Page to Omnibus Action by Wriuen Consent of
                         Board of Direclors ofMercy Services, Iowa City, Inc.]
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       IN WITNESS WHEREOF, the undersigned has executed this Omnibus Action by
Written Consent as of the date first set forth above.



                                           MERCY HOSPITAL, IOWA CITY, IOWA, AS
                                           SOLE MEMBER OF MERCY IOWA CITY
                                           ACO, LLC:




                                           Name: Mark Toney
                                           Title: Chief Restructuring Officer



                                           SOLE MANAGER OF MERCY IOWA CITY
                                           ACO, LLC:



                                            _______________________________
                                            Name: Jim Porter
                                            Title: Manager




                    [Signature Page to Omnibus Action by Written Consent of
                  Controlling Entity and Manager of Mercy Iowa City ACO, LLC]
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                                     ANNEX A

1. Mercy Hospital, Iowa City, Iowa
2. Mercy Services, Iowa City, Inc.
3. Mercy Iowa City ACO, LLC
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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF IOWA

                                                                   )
    In re:                                                         )     Chapter 11
                                                                   )
    MERCY HOSPITAL, IOWA CITY, IOWA, et al.,1                      )     Case No. 23-[_____] (TJC)
                                                                   )
                                       Debtors.                    )     (Joint Administration Requested)
                                                                   )
                                                                   )

                  CONSOLIDATED CORPORATE OWNERSHIP STATEMENT

             Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

Mercy Hospital, Iowa City, Iowa and certain of its affiliates and subsidiaries, as debtors and

debtors-in-possession in the above-captioned chapter 11 cases (each, a “Debtor” and collectively,

the “Debtors”), respectfully represent as follows with respect to the Debtors’ direct and indirect

corporate ownership:

             1.    Non-Debtor Sisters of Mercy of the Americas, West Midwest Community, Inc.

owns 100% of the equity interests in Debtor Mercy Hospital, Iowa City, Iowa, its direct subsidiary.

             2.    Debtor Mercy Hospital, Iowa City, Iowa owns 100% of the equity interests or

membership interests, as applicable, in Debtor Mercy Services Iowa City, Inc. and Debtor Mercy

Iowa City ACO, LLC, both of which are its direct subsidiaries.




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number or business identification number, as applicable, are: Mercy Hospital, Iowa City, Iowa (0391),
      Mercy Services Iowa City, Inc. (1044), and Mercy Iowa City ACO, LLC (9472). The location of
      Mercy’s corporate headquarters and the Debtors’ service address is 500 E. Market Street, Iowa City, IA 52245.
                                Case 23-00623                             Doc 1             Filed 08/07/23 Entered 08/07/23 07:50:07                                                          Desc Main
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      Fill in this information to identify the case:
                        Mercy Hospital, Iowa City, Iowa
      Debtor name: ____________________________________
      United States Bankruptcy Court for the: Northern District of Iowa
      Case number (If known):                                                                                                                                      Check if this is an amended
                                                                                                                                                                    filing

      Official Form 204
      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are
      Not Insiders                                                                            12/15
      A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who
      is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
      holders of the 30 largest unsecured claims.


                                                                                                                                                                                            Amount of unsecured claim
                                                                                                             Nature of the claim                                            if the claim is fully unsecured, fill in only unsecured claim
                                                                                                             (for example, trade Indicate if claim is                     amount. If claim is partially secured, fill in total claim amount
          Name of creditor and complete mailing address,                   Name, telephone number, and email debts, bank loans,     contingent,                             and deduction for value of collateral or setoff to calculate
                        including zip code                                    address of creditor contact        professional     unliquidated, or                                                 unsecured claim.
                                                                                                                   services,          disputed                             Total claim, if        Deduction for
                                                                                                               and government                                                                                           Unsecured claim
                                                                                                                                                                          partially secured     value of collateral
                                                                                                                  contracts)
                                                                                                                                                                                                    or setoff
      Allscripts Healthcare, LLC
      305 Church at North Hills St                                        Name: Douglas Gentile, Chief Medical Officer
      Raleigh, NC, 27609-2666                                             Email: d.gentile@allscripts.com                                            Disputed                                                              $8,577,403.20
 1                                                                        Phone:919-847-8102                                    Trade


   Medefis, Consolidated
   2121 N. 117th Ave.                                                     Name: Shawn Osbahr, Division Director
   Ste. 200                                                               Email: shawno@medefis.com
 2 Omaha,   NE 68164                                                      Phone: 402-651-6568                            Professional Services                                                                             $5,505,029.60

                                                                          Name: Eric Christenson
                                                                          Email: ericc@medefis.com
      Medirevv, Inc.
      2600 University Pkwy                                                Name: Lincoln Popp, Chief Executive Officer,
      Coralville, IA 52241                                                Acclara
 3                                                                        Email: contactus@medirevv.com;                        Trade                                                                                      $1,031,038.92
                                                                          contact@acclara.com
                                                                          Phone: 888-665-6310
   J&K PMS, Inc.
   6737 Brentwood Stair Rd                                                Name: Warren Katz, President
   Ste 200                                                                Email: kmitchek@p-m-s.com;wkatz@p-m-
 4 Fort Worth, TX 76112                                                   s.com                                                 Trade                                                                                       $846,616.25
                                                                          Phone: 817-451-0015

      Medical Record Associates LLC
      103 Central St.                                                     Name: Charlie Saponaro, Chief Executive
      Suite A                                                             Officer
      Wellesley, MA 02482                                                 Email: csaponaro@mrahis.com
 5                                                                        Phone: 617-698-4411                                   Trade                                                                                       $598,921.47

                                                                          Name: Christy Matheson
                                                                          Email: cmatheson@mrhais.com
      DePuy Synthes Joint Recon Inc.
      1302 Wrights Lane East                                              Name: Stephen White, President
      West Chester, PA 19380                                              Email: DePuySpine@dpyus.jnj.com;
 6                                                                        info@dpyus.jnj.com                                    Trade                                                                                       $468,857.55
                                                                          Phone: 800-227-6633

      Owens and Minor, Inc.
      9120 Lockwood Blvd                                                  Name: Edward A. Pesicka, President and Chief
      Mechanicsville, VA, 23116-2015                                      Executive Officer
 7                                                                        Email: GM-privacy@owens-minor.com.                    Trade                                                                                       $403,560.50
                                                                          Phone: 804-723-7000

      Wright Medical Technology Inc.
      1023 Cherry Rd.                                                     Name: Robert Palmisano President CEO
      Memphis TN 38117
 8                                                                        Email: uscustomerservice@wright.com                   Trade                                                                                       $299,580.00
                                                                          Phone: 901-867-9971


      Iowa Heart Center
      5880 University Avenue                                              Name: Rob Gavora, Division Vice President &
      West Des Moines, IA 50266                                           Chief Administrative Officer
 9                                                                        Email:                                         Professional Services                                                                              $268,250.00
                                                                          Phone: 515-633-3600

      Smith and Nephew, Inc.
      7135 Goodlett Farms Parkway                                         Name:Adriana Davies, Vice President
                                                                          Email: Adriana.Davies@smith-nephew.com
 10                                                                       Phone: 901-396-2121                                   Trade                                                                                       $235,260.17

                                                                          Email: secretary@smith-nephew.com
      Zimmer US, Inc.
      345 E. Main St.                                                     Name: Sean O’Hara
      Warsaw, IN 46580
                                                                          Email: sean.ohara@zimmerbiomet.com;
 11                                                                       taylor.mccarthy@zimmerbiomet.com                      Trade                                                                                       $226,863.19
                                                                          Phone: 800-348-9500 / 574-267-6131
                                                                           Email:
                                                                           legal.americas@zimmerbiomet.com




Official Form 204                                                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                   page 1
                                 Case 23-00623             Doc 1              Filed 08/07/23 Entered 08/07/23 07:50:07                                                         Desc Main
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                                                                                                                                                                             Amount of unsecured claim
                                                                                               Nature of the claim                                           if the claim is fully unsecured, fill in only unsecured claim
                                                                                               (for example, trade Indicate if claim is                    amount. If claim is partially secured, fill in total claim amount
          Name of creditor and complete mailing address,     Name, telephone number, and email debts, bank loans,     contingent,                            and deduction for value of collateral or setoff to calculate
                        including zip code                      address of creditor contact        professional     unliquidated, or                                                unsecured claim.
                                                                                                     services,          disputed                            Total claim, if        Deduction for
                                                                                                 and government                                                                                          Unsecured claim
                                                                                                                                                           partially secured     value of collateral
                                                                                                    contracts)
                                                                                                                                                                                     or setoff
      Barton Associates Inc.                               Name:
      300 Jubilee Drive                                    Phone:855-955-5339
      Peabody, MA 01960
 12                                                        Email:                                           Professional Services                                                                            $191,819.64


      Quest Diagnostics
      500 Plaza Dr Ste G                                   Name: James E. Davis, Chief Executive Officer,
      Secaucus, NJ 07094-3656                              President and Chairman
 13                                                        Email:                                                  Trade                                                                                     $186,448.84
                                                           Phone: 866-697-8378 / 805-443-7472

      Intuitive Surgical, Inc.                             Name: Gary S. Guthart, Ph.D Chief
      950 Kifer Rd.                                        Executive Officer
      Sunnyvale, CA 94086                                  Email: investor.relations@intusurg.com
 14                                                                                                                Trade                                                                                     $179,627.95
                                                           Phone: 800-876-1310


    Revology                                               Name: Dan Krzmarzick
    201 E. Washington St.                                  Email:
    Unit 1302
 15 Iowa City, IA 52245                                    dan.krzmarzick@revologyhealth.com                       Trade                                                                                     $134,294.44


    Iowa Hospital Association                              Name: Chris Mitchell, Chief Executive
    100 E. Grand Ave.                                      Officer Randall RubinCFO
    Ste 100
 16 Des Moines, IA 50309                                   Email: rrubin@mercydesmoines.org                        Trade                                                                                     $101,706.00
                                                           Phone: 515-288-1955

      Medico-Mart Inc.                                     Name: Gerald Walsh, President, Teddy
      2323 Corporate Dr.                                   Walsh, Controller
      Waukesha, WI 53189
 17                                                        Email: twalsh@medicomart.com                            Trade                                                                                     $94,209.89
                                                           Phone: 262-446-2323

      Johnson & Johnson Health Care Systems Inc.
      4500 Riverside Drive                                 Name: Joaquin Duato, Chief Executive Officer;
      Palm Beach Gardens, FL 33410                         Evan Berez, Director
 18                                                                                                                Trade                                                                                     $94,169.69
                                                           Email: bpatel6@its.jnj.com;eberez1@its.jnj.com
                                                           Phone: 732-562-3000

      Olympus America, Inc.
      3500 Corporate Parkway                               Name: Stefan Kaufmann, Chief Executive
      PO Box 610                                           Officer
                                                                                                                                                                                                             $92,653.41
      Center Valley, PA 18034                              Email: jennifer.bannan@olympus.com
 19                                                        Phone: 484-896-5000; 419-733-7075                       Trade

                                                           Name : Jeremy Pitz
                                                           Email : jeremy.pitz@olympus.com
    Progressive Rehabilitation                             Name : Colleen Benhart
    1130 Scott Blvd                                        Email :
    Suite 1
 20 Iowa City, IA 52240                                    Phone :                                          Professional Services                                                                            $77,797.74


      Huntington Technology Finance                        Name : Mary Hurt
      2285 Franklin Rd.                                    Email :mary.hurt@huntington.com
      Bloomfield Hills, MI 48302
 21                                                        Phone : 216-870-2994                                    Lease                                                                                      75,728.38


      MidAmerican Energy Services, LLC                     Name:
      666 Grande Avenue                                    Email:
      Des Moines, IA 50309
 22                                                        Phone:                                                 Utilities                                                                                  $75,504.46


      Gallagher Benefit Services, Inc.
      2850 Golf Road                                       Name: Jackie Morrow
      Rolling Meadows, IL 60008
 23                                                        Email: Jackie_morrow@ajg.com                           Benefits                                                                                   $71,253.48
                                                           Phone: 734-972-2578

      IdeaCom
      30 W. Water St.                                      Name: John Anderson-President
      St. Paul, MN 55107                                   Email: canderson@idea-ma.com
 24                                                        Phone: 800-433-6208;651-292-0102                        Trade                                                                                     $69,871.18


      Medtronic USA
      8200 Coral Sea Street NE                             Name: Kimberly Calderon, CEO
      Mounds View, MN 55112                                Email:
                                                           eridania.esther.calderon@medtronic.com
 25                                                        Phone:800-677-3394 / 763-514-4000                       Trade                                                                                     $65,061.85


                                                           Name: Michael B. Keeley
                                                           Email: michael.b.keeley@medtronic.com




Official Form 204                                              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                   page 2
                              Case 23-00623               Doc 1             Filed 08/07/23 Entered 08/07/23 07:50:07                                                          Desc Main
                                                                             Document     Page 30 of 31

                                                                                                                                                                            Amount of unsecured claim
                                                                                             Nature of the claim                                            if the claim is fully unsecured, fill in only unsecured claim
                                                                                             (for example, trade Indicate if claim is                     amount. If claim is partially secured, fill in total claim amount
         Name of creditor and complete mailing address,    Name, telephone number, and email debts, bank loans,     contingent,                             and deduction for value of collateral or setoff to calculate
                       including zip code                     address of creditor contact        professional     unliquidated, or                                                 unsecured claim.
                                                                                                   services,          disputed                             Total claim, if        Deduction for
                                                                                               and government                                                                                           Unsecured claim
                                                                                                                                                          partially secured     value of collateral
                                                                                                  contracts)
                                                                                                                                                                                    or setoff
      AAA Mechanical Contractors, Inc.
      2755 Stoner Court                                   Name: Jay Hall
      North Liberty, IA52317
 26                                                       Email:                                                 Trade                                                                                      $62,514.76
                                                          Phone: 319-351-1843

    Biomerieux Inc.
    One Boston Place, 201 Washington St.                  Name: Check Mate, CEO; Brian Armstrong
    Suite 4030                                            Email: contact.nordic@biomerieux.com
 27 Boston, MA 02108                                      Phone: 919-620-2000;800-634-7656                       Trade                                                                                      $62,090.80


                                                          Email: us.servicecontracts@biomerieux.com
      Healogics Wound Care & Hyperbaric Services, LLC
      5220 Belfort Rd.                                    Name: Frank Williams, Chief Executive Officer
      #130                                                Email: franks.william@healogics.com;
      Jacksonville, FL 32256                              keith.koford@healogics.com
 28                                                       Phone:800-379-9774                                     Trade                                                                                      $59,633.56

                                                          Name: Julie Adam, RN
                                                          Email: Julie.Adam@healogics.com
    Hayes Locums
    6700 N. Andrews Ave.                                  Name: John Hayes, Chief Executive Officer
    Suite 600                                             Email:
 29 Fort Lauderdale, FL 33309                             AccountingInquiries@hayeslocums.com;            Professional Services                                                                             $59,562.00
                                                          QA@hayeslocums.com
                                                          Phone:888-837-3172
      BlueSky
      5600 S. Quebec St.                                  Name: Tim Teague, CEO and President
      Greenwood Village, CO 80111                         Email: tteague@blueskymss.com
 30                                                       Phone: 615-349-1985                                    Trade                                                                                      $52,390.00




Official Form 204                                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                  page 3
              Case 23-00623                 Doc 1       Filed 08/07/23 Entered 08/07/23 07:50:07                            Desc Main
                                                         Document     Page 31 of 31
 Fill in this information to identify the case and this filing:


              Mercy Hospital, Iowa City, Iowa
 Debtor Name __________________________________________________________________

                                           Northern
 United States Bankruptcy Court for the: ______________________               Iowa
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____
         x Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
         

         
         x                                            Consolidated Corporate Ownership Statement
           Other document that requires a declaration__
                                                      ________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                      08/07/2023
        Executed on ______________                            _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Mark E. Toney
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
